Case 14-10979-CSS Doc 765-2 Filed 06/03/14

EXHIBIT 2 to EXHIBIT A

Tier 2 Ordinary Course Professionals

Page 1 of 6
Case 14-10979-CSS Doc 765-2 Filed 06/03/14 Page 2 of 6

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Case 14-10979-CSS Doc 765-2 Filed 06/03/14 Page 3 of 6

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Case 14-10979-CSS Doc 765-2 Filed 06/03/14 Page 4of6

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Case 14-10979-CSS Doc 765-2 Filed 06/03/14 Page 5of6

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Case 14-10979-CSS Doc 765-2 Filed 06/03/14 Page 6 of 6

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